Case 2:17-cv-06654-AB-FFM Document 36 Filed 09/29/22 Page 1 of 23 Page ID #:442



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  8                      UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
 10
 11 IN RE: FORD MOTOR CO. DPS6             )      Case Nos. 2:18-ML-02814-AB
    POWERSHIFT TRANSMISSION                                 2:17-cv-06654-AB-FFM
 12 PRODUCTS LIABILITY                     )
    LITIGATION                             )      Assigned to Hon. André Birotte Jr.
 13                                        )      Courtroom:7B
 14                                        )      [PROPOSED] JOINT FINAL
                                           )      PRETRIAL CONFERENCE
 15   THIS DOCUMENT RELATES ONLY )                ORDER
      TO:
 16                                        )
                                           )      JURY TRIAL DATE:
 17   Rodolfo Mejia v. Ford Motor Company, )      November 15, 2022, 8:30 a.m.
      2:17-cv-06654-AB-FFM
 18                                        )
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                                                   JOINT FINAL PRETRIAL CONFERENCE ORDER
                                      CASE NO. 2:17-cv-06654 (MEJIA)4096" = "1" "4844-5500-7917 v2" ""
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  1         Following pre-trial proceedings, pursuant to Federal Rule of Civil Procedure
  2 16 and Local Rule 16, IT IS ORDERED:
  3 1.      THE PARTIES AND PLEADINGS
  4         Plaintiff’s Statement
  5         a.    Parties: The parties are Plaintiff Rodolfo Mejia (“Plaintiff”) and
  6 Defendant Ford Motor Company (“Defendant” or “Ford”). Each of these parties
  7 have been served and appeared. All other parties named in the pleadings and not
  8 identified in the preceding paragraph are now dismissed.
  9         b.    Pleadings: The pleadings which raise the issues are Plaintiff’s
 10 Complaint filed in the Superior State Court, Los Angeles County Court on August 4,
 11 2017 and Ford’s Answer filed on September 7, 2017. Plaintiff’s 3rd through 5th
 12 causes of actions for fraudulent inducement have been dismissed. Plaintiff’s
 13 remaining claims are causes of action for breaches of express and implied warranties
 14 under the Song-Beverly Act.
 15         Ford’s Statement
 16         Plaintiff Rodolfo Mejia’s claims in this action arise out of the purchase of a
 17 new 2013 Ford Fiesta on September 14, 2013. See Compl. [Mejia Dkt. 1-2, ¶ 70].
 18 Plaintiff initially alleged claims for breach of express and implied warranty under the
 19 Song-Beverly Act and claims for fraudulent inducement. See generally Compl.
 20 [Mejia Dkt. 1-2].
 21         On January 20, 2022, the parties submitted a joint stipulation to dismiss the
 22 fraud claims from Plaintiff’s Complaint. See Joint Stipulation to Dismiss Fraud
 23 Claims [Mejia Dkt. 28]. The Court granted the parties’ joint stipulation on January
 24 21, 2022, and dismissed Plaintiff’s claims for fraudulent concealment, intentional
 25 misrepresentation, and negligent misrepresentation. See Order Granting Dkt. 28
 26 [Mejia Dkt. 29].
 27 2.      JURISDICTION
 28         Plaintiff’s Statement

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  1         As to this case, there has been no determination that subject matter
  2 jurisdiction over this specific action exists under 28 U.S.C. § 1332, nor has there
  3 been a determination venue is proper in this District and this Division pursuant to
  4 28 U.S.C. § 1407 over this specific action. Plaintiff reserves the right to challenge
  5 jurisdiction at any time before final judgment if it appears this Court lacks
  6 jurisdiction. Kelton Arms Condominium Owners Ass’n v. Homestead Ins. Co., 346
  7 F.3d 1190, 1192 (9th Cir. 2003); Camsoft Data Systems, Inc. v. Southern
  8 Electronics Supply, Inc. 756 F.3d 327, 337-340 (5th Cir. 2014).
  9         Ford’s Statement
 10         As to this case, there has been a determination that subject matter jurisdiction
 11 over this action exists under 28 U.S.C. § 1332, and venue is proper in this District
 12 and this Division pursuant to 28 U.S.C. § 1407, and pursuant to Transfer Order of
 13 the United States Judicial Panel on Multi-District Litigation creating Master Docket
 14 MDL 2:18-ml-02814-AB (FFMx), In Re: Ford Motor Co. DPS6 Powershift
 15 Transmission Products Liability Litigation, filed 2/6/2018. [MDL Dkt. 1.]
 16
      3.    TRIAL DATE and DURATION
 17
            The Jury Trial is hereby set for Tuesday, November 15, 2022, at 8:30 a.m.
 18
            Each side may have 6 hours for presentation of their cases, excluding openings
 19
      and closings. Each side may have 15 minutes for opening statements and 30 minutes
 20
      for closing arguments. Plaintiff may have 10 minutes for rebuttal.
 21
      4.    JURY TRIAL
 22
            Plaintiff’s Statement
 23
            The trial is to be a jury trial as to any issues that may be tried to jury.
 24
            The parties have met and conferred and have filed a joint list of agreed upon
 25
      instructions and disputed instructions.
 26
            Ford’s Statement
 27
            The trial is to be a jury trial as to any issues that may be tried to a jury.
 28
            Ford reserves the right to seek a trial by the Court if Plaintiff is permitted to
                                                  4
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  1 pursue any equitable claims, including rescission and, if necessary, to resolve Ford’s
  2 equitable defense of recoupment or offset.
  3         The parties have met and conferred and will file a joint set of agreed-upon
  4 instructions and verdict forms.
  5 5.      ADMITTED FACTS
  6         The following facts are admitted and require no proof:
  7         1) Ford Motor Company is a manufacturer of 2011–2016 Ford Fiesta and
  8               2012–2016 Ford Focus vehicles.
  9         2) Plaintiff purchased a new 2013 Ford Fiesta passenger vehicle that was
 10               manufactured by Ford and equipped with a DPS6 PowerShift
 11               transmission, on September 14, 2013, from South Bay Ford in Hawthorne,
 12               California.
 13         3) Plaintiff’s 2013 Fiesta was covered by an express written warranty issued
 14               by Ford.
 15         4) South Bay Ford is an authorized Ford repair facility.
 16         5) Ford introduced the DPS6 PowerShift Transmission in its Fiesta and
 17               Focus vehicles for the 2011 and 2012 model years, respectively.
 18 6.      STIPULATED FACTS
 19         The following facts, though stipulated, shall be without prejudice to any
 20 evidentiary objection: None.
 21 7.      PARTIES’ CLAIMS AND DEFENSES
 22         The parties have set forth their respective positions as to the claims and
 23 defenses below.
 24         Plaintiff’s Statement
 25 Plaintiff’s Claims:
 26         (a)      Plaintiff plans to pursue the following claims against Defendant:
 27         Claim 1: For violation of the Song-Beverly Consumer Warranty Act,
 28 California Civil Code § 1790 et seq., express warranty, Plaintiff asserts that Ford

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  1 was unable to repair the Subject Vehicle to conform to its express warranty within a
  2 reasonable number of attempts, that the defects resulted in a substantial impairment
  3 to use, value and safety, that Ford failed to promptly replace or make restitution for
  4 the Subject Vehicle, and further that Ford’s failure to comply was willful.
  5         Claim 2: For violation of the Song-Beverly Consumer Warranty Act,
  6 California Civil Code § 1790 et seq., implied warranty, Plaintiff asserts that the
  7 Subject Vehicle was not of the same quality as those generally acceptable in the
  8 trade and/or was not fit for the ordinary purposes for which it is used, that Plaintiff
  9 was harmed, and Ford’s breach of the implied warranty was a substantial factor in
      causing Plaintiff’s harm.
 10
            Claim 3: This claim has been dismissed. It will not be further addressed
 11
      herein.
 12
            Claim 4: This claim has been dismissed. It will not be further addressed
 13
      herein.
 14
            Claim 5: This claim has been dismissed. It will not be further addressed
 15
      herein.
 16
 17
            (b)    The elements required to establish Plaintiff’s claims:
 18
            Claim 1:      Breach of Express Warranty – Violation of Song-Beverly Act
 19
                   a.     That Plaintiff purchased a new motor vehicle manufactured
 20
            and/or distributed by Ford;
 21
                   b.     That Ford gave Plaintiff a written warranty;
 22
                   c.     That the Subject Vehicle had one or more defects covered by the
 23
            warranty that substantially impaired its use, value, or safety to a reasonable
 24
            person in Plaintiff’s situation;
 25
                   d.     That Plaintiff delivered the Subject Vehicle to Ford’s authorized
 26
            repair facilities for repair of the defect(s);
 27
                   e.     That Ford or its authorized repair facility failed to repair the
 28
            Subject Vehicle to match the written warranty after a reasonable number of
                                               6
                                                         JOINT FINAL PRETRIAL CONFERENCE ORDER
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  1         opportunities to do so; and
  2                f.      That Ford did not promptly replace or make restitution for the
  3         Subject Vehicle.
  4                g.      Further, Ford’s failure to promptly replace or make restitution
  5         was willful.
  6 Judicial Council of California Civil Jury Instructions (CACI) 3201. It is not
  7 necessary for Plaintiff to prove the cause of the defect or defects in the Subject
  8 Vehicle. Id.
  9         If the jury decides that Defendant or its authorized repair facility failed to
 10 repair the defect(s) after a reasonable number of opportunities, then Plaintiff is
 11 entitled to recover the amounts they prove they paid for the Subject Vehicle,
 12 including:
 13
            1.     The amount paid to date for the Subject Vehicle, including
 14                finance charges and any amount still owed by Plaintiff;
 15
            2.     Charges for transportation and manufacturer-installed options;
 16                and
 17
            3.     Sales tax, use tax, license fees, registration fees, and other official
 18                fees.
 19 CACI 3241. Plaintiff’s recovery must be reduced by the value of the use of the
 20 Subject Vehicle before it was brought in for repair. CACI 3241. Defendant must
 21 prove how many miles it was driven between the time when Plaintiff took
 22 possession of it and the time when Plaintiff first delivered it to Defendant or its
 23 authorized repair facility to fix the defect. Id. The jury will then multiply this
 24 mileage number by the purchase price, including any charges for transportation and
 25 manufacturer-installed options, and divide that amount by 120,000 and then deduct
 26 the resulting amount from Plaintiffs’ recovery. CACI 3241. Plaintiff also seeks and
 27 are entitled to recovery incidental and consequential damages, including but not
 28 limited to costs for repairs and service, registration and insurance. See CACI 3242,

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  1 3243.
  2         Plaintiff also claims that Defendant’s failure to repurchase or replace the
  3 Subject Vehicle after a reasonable number of opportunities was willful and therefore
  4 asks that the jury impose a civil penalty against Defendant. CACI 3244. A civil
  5 penalty is an award of money in addition to a plaintiff’s damages. Id. The purpose
  6 of this civil penalty is to punish a defendant or discourage it from committing
  7 violations in the future. Id. “Willful” means that Defendant knew of its legal
  8 obligations and intentionally declined to follow them. Id. However, a violation is not
  9 willful if the jury finds that Defendant reasonably and in good faith believed that the
 10 facts did not require repurchasing or replacing the Subject Vehicle. Id.
 11         If Plaintiff’s have proved that Defendant’s failure was willful, the jury may
 12 impose a civil penalty against it. Id. The penalty may be in any amount the jury finds
 13 appropriate, up to a maximum of two (2) times the amount of Plaintiff’s actual
 14 damages.
 15         Claim 2:     Breach of Implied Warranty – Violation of Song-Beverly Act
 16               a.     That Plaintiff bought the Subject Vehicle manufactured by Ford;
 17               b.     That at the time of purchase Ford was in the business of
 18               manufacturing automobiles, such as the Subject Vehicle;
 19               c.     That the Subject was not of the same quality as those generally
 20               acceptable in the trade or was not fit for the ordinary purposes for
 21               which the goods are used;
 22               d.     That Plaintiff was harmed; and
 23               e.     That Ford’s breach of the implied warranty was a substantial
 24               factor in causing Plaintiff’s harm.
 25 CACI 3210. “[T]here exists in every contract for the sale of goods by a merchant a
 26 warranty that the goods shall be merchantable.” Isip v. Mercedes-Benz USA, LLC
 27 (2007) 155 Cal.App.4th 19, 26–27. The implied warranty of merchantability
 28 “provides for a minimum level of quality.’” American Suzuki Motor Corp. v.

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  1 Superior Court (1995) 37 Cal.App.4th 1291, 1295–96. A claim for breach of the
  2 implied warranty of merchantability incorporates the provisions of the California
  3 Uniform Commercial Code but it is broader and supplements it with less stringent
  4 elements of proof and more expansive remedies. CACI 3210, Sources and
  5 Authorities. “The implied warranty of merchantability may be breached by a latent
  6 defect undiscoverable at the time of sale.” Mexia v. Rinker Boat Co., Inc. (2009) 174
  7 Cal.App.4th 1297, 1304–05.
  8            In the Directions for Use that accompany CACI 3210, the jury instruction
  9 regarding the breach of implied warranty claim under the Song-Beverly Consumer
 10 Warranty Act, there is a reference to Cal. Comm. Code § 2714, regarding what
 11 damages a consumer may recover in connection with the claim. Section 2714
 12 provides that: (1) a buyer may recover all damages resulting from the seller’s
 13 breach of the implied warranty which are reasonable; (2) damages equating to the
 14 difference at the time of sale between the value of the vehicle accepted and the
 15 value it would have had if it had been as warranted; and (3) incidental and
 16 consequential damages. Cal. Comm. Code § 2714(1)-(3); see also Cal. Civ. Code §
 17 1794(a).
 18         (c)    Brief Summary of Key Evidence Plaintiff Relies on for Each
 19 Claim:
 20         Claim 1: Violation of Express Warranty Provisions of Song-Beverly Act
 21            a. That Plaintiff purchased a new motor vehicle manufactured and/or
 22               distributed by Ford;
 23                      This is a stipulated fact.
 24            b. That Ford gave Plaintiff a written warranty;
 25                      This is a stipulated fact.
 26            c. That the Subject Vehicle had one or more defects covered by the
 27               warranty that substantially impaired its use, value, or safety to a
 28               reasonable person in Plaintiff’s situation;

                                                   9
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   1                     1.     Plaintiff’s testimony, the testimony of Plaintiff’s wife
   2              Cynthia Hernandez, Plaintiff’s expert Anthony Micale, testimony of
   3              Ford’s corporate designee(s), testimony of South Bay Ford personnel
   4              and engineering and management employees of Ford, such as Shawn
   5              McClain, Gary Nichols and Greg Overla; and documentary evidence
   6              including service and repair records, Ford’s Technical Service
   7              Bulletins (“TSBs”), Ford’s internal presentations and reports, and
   8              written communications by and between Ford’s engineering and
   9              management employees, establish that the Subject Vehicle had one or
  10              more defects covered by the warranty that substantially impaired its
  11              use, value, or safety to a reasonable person in Plaintiff’s situation.
  12          d. That Plaintiff delivered the Subject Vehicle to FORD’s authorized
  13             repair facilities for repair of the defect(s);
  14                     1.     It is a stipulated fact that South Bay Ford is a FORD
  15             authorized repair facility.
  16                     2.     Plaintiff’s testimony, testimony of Plaintiff’s wife Cynthia
  17             Hernandez the testimony of Plaintiff’s expert Anthony Micale,
  18             testimony of Ford’s corporate designee(s), testimony of South Bay Ford
  19             personnel and engineering and management employees of Ford, such as
  20             Shawn McClain, Gary Nichols and Greg Overla; and documentary
  21             evidence including service and repair records, establish that Plaintiff
  22             delivered the Subject Vehicle to South Bay Ford for repair of the
  23             defects under warranty.
  24          e. That Ford or its authorized repair facility failed to repair the Subject
  25             Vehicle to match the written warranty after a reasonable number of
  26             opportunities to do so; and
  27                     1.     It is a stipulated fact that South Bay Ford is a FORD
  28             authorized repair facility.

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   1                    2.       Plaintiff’s testimony, the testimony of Plaintiff’s wife
   2             Cynthia Hernandez, Plaintiff’s expert Anthony Micale, testimony of
   3             Ford’s corporate designee(s), testimony of South Bay Ford personnel
   4             and engineering and management employees of Ford, such as Shawn
   5             McClain, Gary Nichols and Greg Overla; and documentary evidence
   6             including service and repair records, Ford’s Technical Service Bulletins
   7             (“TSBs”), Ford’s internal presentations and reports, and written
   8             communications by and between Ford’s engineering and management
   9             employees, establish that Ford and its authorized repair facility, South
  10             Bay Ford, failed to repair the Subject Vehicle to match the written
  11             warranty after a reasonable number of opportunities to do so.
  12          f. That Ford did not promptly replace or make restitution for the Subject
  13             Vehicle.
  14                    1.      Plaintiff’s testimony, testimony of Ford’s corporate
  15             designee(s), and documentary evidence including contact records and
  16             correspondence between Plaintiff and Ford Motor Company’s customer
  17             service agents, internal customer service records including the FMC
  18             360, establish that Ford did not promptly replace or make any
  19             restitution for the Subject Vehicle.
  20          g. That Ford’s failure to replace or make restitution for the Subject

  21             Vehicle was willful.
  22                         1. Plaintiff’s testimony, the testimony of Ford Motor
  23              Company’s corporate designee(s) and other employees including but
  24              not limited to Shawn McClain, Gary Nichols and Greg Overla,, and
  25              documentary evidence including correspondence between Plaintiff and
  26              Ford Motor Company’s customer service agents, internal customer
  27              service records including the FMC 360, extensive documentary
  28              evidence including Ford’s Technical Service Bulletins (“TSBs”),

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   1              internal records, reports, presentations, and written communications by
   2              and between Ford’s engineering and management employees, and
   3              documentation of Ford’s policies and procedures for its agents’
   4              handling of evaluations of eligibility of vehicles for relief under
   5              California law, establish that Ford failed to review reasonably
   6              available information germane to the decision whether to repurchase or
   7              replace the Subject Vehicle, and that Ford’s failure to comply was
   8              willful.
   9        Claim 2: Violation of Implied Warranty Provisions of Song-Beverly Act
  10              a.     That Plaintiff bought the Subject Vehicle manufactured by Ford;
  11                     This is a stipulated fact.
  12              b.     That at the time of purchase Ford was in the business of
  13              manufacturing automobiles, such as the Subject Vehicle;
  14                     This is a stipulated fact.
  15              c.     That the Subject was not of the same quality as those generally
  16              acceptable in the trade or was not fit for the ordinary purposes for
  17              which the goods are used;
  18                     1.     Plaintiff’s testimony, the testimony of Plaintiff’s wife
  19                     Cynthia Hernandez, Plaintiff’s expert Anthony Micale,
  20                     testimony of Ford’s corporate designee(s), testimony of South
  21                     Bay Ford personnel and engineering and management
  22                     employees of Ford, such as Shawn McClain, Gary Nichols and
  23                     Greg Overla; and documentary evidence including service and
  24                     repair records, Ford’s Technical Service Bulletins (“TSBs”),
  25                     Ford’s internal presentations and reports, and written
  26                     communications by and between Ford’s engineering and
  27                     management employees.
  28              d.     That Plaintiff was harmed; and

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   1                           1. Plaintiff’s testimony, the testimony of Plaintiff’s wife
   2                     Cynthia Hernandez, Plaintiff’s expert Anthony Micale,
   3                     testimony of Ford’s corporate designee(s), testimony of South
   4                     Bay Ford personnel and engineering and management
   5                     employees of Ford, such as Shawn McClain, Gary Nichols and
   6                     Greg Overla; and documentary evidence including service and
   7                     repair records, Ford’s Technical Service Bulletins (“TSBs”),
   8                     Ford’s internal presentations and reports, and written
   9                     communications by and between Ford’s engineering and
  10                     management employees.
  11              e.     That Ford’s breach of the implied warranty was a substantial
  12              factor in causing Plaintiff’s harm.
  13                           1. Plaintiff’s testimony, the testimony of Plaintiff’s wife
  14                     Cynthia Hernandez, Plaintiff’s expert Anthony Micale,
  15                     testimony of Ford’s corporate designee(s), testimony of South
  16                     Bay Ford personnel and engineering and management
  17                     employees of Ford, such as Shawn McClain, Gary Nichols and
  18                     Greg Overla; and documentary evidence including service and
  19                     repair records, Ford’s Technical Service Bulletins (“TSBs”),
  20                     Ford’s internal presentations and reports, and written
  21                     communications by and between Ford’s engineering and
  22                     management employees.
  23
  24
  25        Ford’s Statement
  26        A.    Summary of Plaintiff’s Claims and Elements Required to Establish
  27              Plaintiff’s Claims
  28        As set forth in Section 1, supra, the only remaining claims in this action are

                                                 13
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   1 for alleged violations of the Song-Beverly Warranty Act—i.e., breach of the express
   2 and implied warranties.
   3         For the first claim for breach of express warranty, Plaintiff’s complaint sought
   4 the following: 1) “reimbursement of the price paid for the vehicle less that amount
   5 directly attributable to use by the Plaintiff prior to discovery of the nonconformities;”
   6 2) “all incidental, consequential, and general damages resulting from Defendant’s
   7 failure to comply with their obligations under the Song-Beverly Act;” 3) “the
   8 aggregate amount of costs and expenses, including attorney’s fees, reasonably
   9 incurred in connection with the commencement and prosecution of this action;” and
  10 4) “a civil penalty of up to two times the amount of actual damages.” Compl. at ¶¶
  11 119–122.
  12         For the second claim for breach of implied warranty, Plaintiff’s complaint
  13 sought the following: 1) “replacement or reimbursement pursuant to Civil Code
  14 section 1794, et seq.;” 2) rescission of the contract pursuant to Civil Code section
  15 1794, et seq. and Commercial Code section 2711;” 3) “any ‘cover’ damages under
  16 Commercial Code sections 2711, 2712, and Civil Code section 1794, et seq.;” and 4)
  17 “all incidental and consequential damages pursuant to 1794 et seq [sic] and
  18 Commercial Code sections 2711, 2712, and 2713 et seq.”
  19         Claim 1: Breach of Express Warranty – Violation of the Song-Beverly Act
  20         Summary: Plaintiff claims Ford failed to offer to promptly replace Ford Fiesta
  21 or refund his purchase after being unable to repair the Fiesta within a reasonable
  22 number of warranted repair opportunities.
  23               Elements: Plaintiff has the burden of proving:
  24               1. That he purchased a new motor vehicle manufactured by Ford;
  25               2. That Ford gave Plaintiff a written warranty that Ford would repair or
  26 replace parts that malfunctioned, or failed during normal use within the coverage
  27 period because of defects in factory-supplied materials or factory workmanship;
  28               3. That the vehicle failed to conform to the warranty, and the defect

                                                  14
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   1 would have substantially impaired the vehicle’s use, or safety to a reasonable person
   2 in Plaintiff’s situation;
   3                4. That after discovering the defect, Plaintiff delivered the vehicle to
   4 Ford or its authorized repair facility for repair of the defect;
   5                5. That Ford or its authorized repair facility was unable to repair the
   6 defect after a reasonable number of opportunities to do so; and
   7                6. That Ford did not promptly offer to replace the vehicle or refund
   8 Plaintiff’s money.
   9                Sources:
  10                •     Judicial Council of California Civil Jury Instructions (CACI)
  11 3201(modified), Failure to Promptly Repurchase or Replace New Motor Vehicle
  12 After Reasonable Number of Repair Opportunities—Essential Factual Elements.
  13                •     Cal. Civil Code § 1793.2, subds. (d) & (e) (referring to
  14 conformity or nonconformity with applicable express warranties, rather than
  15 “defects”); see Oregel v. Am. Izuzu Motors, Inc., 90 Cal. App. 4th 1094, 1101 (2001)
  16 (using “nonconformity”).
  17                •     “Every vehicle with a defect is not necessarily a lemon. A
  18 ‘nonconformity’ requiring the vehicle’s refund or replacement under our law must
  19 ‘substantially impair’ the use, value, or safety of the new motor vehicle.’” (Johnson
  20 v. Ford Motor Co., 35 Cal.4th 1191, 1211 (1963).)
  21                Civil Penalties – Willful Violation of the Song-Beverly Act
  22                Summary: Plaintiff claims that Ford’s failure to offer to promptly
  23 repurchase or replace the vehicle after a reasonable number of warranted repair
  24 opportunities, was willful, and therefore they are requesting an award of civil
  25 penalties.
  26                Elements: Plaintiff has the burden of proving that:
  27                1.    All elements of Claim No. 1, supra;
  28                2.    Ford’s conduct was “willful.” “Willful” means that Ford knew of

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   1 its legal obligations and intentionally declined to follow them. However, a violation
   2 is not willful if Ford reasonably and in good faith believed that the facts did not
   3 require it to replace the vehicle or refund Plaintiff’s purchase.
   4                Sources:
   5                • CACI 3244 (modified); Cal. Civ. Code § 1794(c).
   6                • “Neither punishment nor deterrence is ordinarily called for if the
   7 defendant’s actions proceeded from an honest mistake or a sincere and reasonable
   8 difference of factual evaluation.... [A] violation is not willful if the defendant’s
   9 failure to replace or refund was the result of a good faith and reasonable belief the
  10 facts imposing the statutory obligation were not present.” Kwan v. Mercedes-Benz of
  11 N. Am., Inc., 23 Cal. App. 4th 174, 184–85 (1994) (citations omitted).
  12                •     “‘[U]nlike a simple equation of willfulness with volition, which
  13 would render ‘willful’ virtually all cases of refusal to replace or refund, our
  14 interpretation preserves the Act’s distinction between willful and nonwillful
  15 violations.” Lukather v. General Motors, LLC, 181 Cal. App. 4th 1041, 1051 (2010)
  16 (quoting Kwan.)
  17            •         “In the present case, the excluded testimony regarding

  18 Fleetwood’s belief that it could readily repair the water-damaged trailer, including the
  19 nature and details of those prospective repairs, would appear to be relevant to the
  20 question of Fleetwood’s good faith. [T]he evidence was relevant to Fleetwood’s
  21 belief that it had not yet been given a reasonable number of repair attempts. We
  22 therefore agree with Fleetwood that the exclusion of this evidence on relevancy
  23 grounds was error.” Robertson v. Fleetwood Travel Trailers of Cal., Inc., 144 Cal.
  24 App. 4th 785, 815 (2006).
  25                •     Islas, et al. v. Ford Motor Co., Case No. 5:18-cv-02221-GW-
  26 (SPx), Amended Order adopting tentative ruling on Motion to Dismiss and Motion
  27 for Summary Judgment (Dkt. No. 52 [Amended Minute Order], filed Oct. 17, 2019,
  28 and Dkt. 38 [Tentative Ruling], filed 9/9/2019), holding that Lukather does not stand

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   1 for the proposition that a manufacturer has an “affirmative duty” under the Song-
   2 Beverly Act. “If anything, Lukather indicates that a manufacturer’s duty to promptly
   3 make restitution was only trigger[ed] after a buyer sufficiently informs a
   4 manufacturer that he or she desires one or more of the options available to him or her
   5 under Section 1793.2(d)(2).” Plaintiff may not recover civil penalties if he proves
   6 only a breach of implied warranty. Cal. Civ. Code § 1794(c).
   7 Claim 2: Breach of Implied Warranty – Violation of the Song-Beverly Act
   8         Summary: Plaintiff claims that Ford breached the implied warranty of implied
   9 warranty of merchantability under the Song-Beverly Act.
  10         Elements: Plaintiff has the burden of proving:
  11         1. That Plaintiff bought a vehicle manufactured by Ford;
  12         2. That at the time of purchase, Ford was in the business of manufacturing
  13         vehicles;
  14         3. That at the time of purchase and for a period of one year following the
  15 purchase, the 2013 Ford Fiesta was not fit for its ordinary purposes.
  16         4. That the vehicle’s defect within the first year of ownership substantially
  17 impaired its value to Plaintiff;
  18         5. That Plaintiff accepted the vehicle on the reasonable assumption that its
  19 nonconformity would be cured and it has not been seasonably cured; or that he
  20 accepted it without discovery of the nonconformity if his acceptance was reasonably
  21 induced either by the difficulty of discovery before acceptance or by the seller’s
  22 assurances.
  23         6. That Plaintiff gave notice that he justifiably revoked his acceptance:
  24               a.     within a reasonable time after he discovered or should have
  25         discovered the reason for revoking; and
  26               b.     before any substantial change in condition of the 2013 Fiesta
  27         which was not caused by its own defects.
  28         6. The amount of damages to which Plaintiff is entitled.

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   1         Sources:
   2         •      Judicial Council of California Civil Jury Instructions (CACI) 3210;
   3         •      Buyer’s Action for Breach of Implied Warranties. Civil Code section
   4                1794(a).
   5         •      Damages of Implied Warranties. Civil Code section 1791.1(c).
   6         •      Remedies. Civil Code section 1791.1(d).
   7         •      Implied Warranty of Merchantability. Civil Code section 1792.
   8         •      Damages for Breach; Accepted Goods. California Uniform
   9                Commercial Code section 2714.
  10         •      “As defined in the Song-Beverly Consumer Warranty Act, ‘an
  11 implied warranty of merchantability guarantees that ‘consumer goods meet each of
  12 the following: (1) Pass without objection in the trade under the contract description.
  13 (2) Are fit for the ordinary purposes for which such goods are used. (3) Are
  14 adequately contained, packaged, and labeled. (4) Conform to the promises or
  15 affirmations of fact made on the container or label.’ Unlike an express warranty, ‘the
  16 implied warranty of merchantability arises by operation of law’ and ‘provides for a
  17 minimum level of quality.’ ‘The California Uniform Commercial Code separates
  18 implied warranties into two categories. An implied warranty that the goods “shall be
  19 merchantable” and “fit for the ordinary purposes” is contained in California Uniform
  20 Commercial Code section 2314. Whereas an implied warranty that the goods shall be
  21 fit for a particular purpose is contained in section 2315. Thus, there exists in every
  22 contract for the sale of goods by a merchant a warranty that the goods shall be
  23 merchantable. The core test of merchantability is fitness for the ordinary purpose for
  24 which such goods are used. (§ 2314.)’ ” (Isip v. Mercedes-Benz USA, LLC, 155 Cal.
  25 App. 4th 19, 26–27 (2007) (internal citations omitted).)
  26         •      “Here the alleged wrongdoing is a breach of the implied warranty of
  27 merchantability imposed by the Song-Beverly Consumer Warranty Act. Under the
  28 circumstances of this case, which involves the sale of a used automobile, the element

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   1 of wrongdoing is established by pleading and proving (1) the plaintiff bought a used
   2 automobile from the defendant, (2) at the time of purchase, the defendant was in the
   3 business of selling automobiles to retail buyers, (3) the defendant made express
   4 warranties with respect to the used automobile, and (4) the automobile was not fit for
   5 ordinary purposes for which the goods are used. Generally, ‘[t]he core test of
   6 merchantability is fitness for the ordinary purpose for which such goods are used.’ ”
   7 (Gutierrez v. Carmax Auto Superstores Cal., 19 Cal.App.5th 1234, 1246 (2018),
   8 (internal citations omitted).)
   9        •        “[T]he buyer of consumer goods must plead he or she was injured or

  10 damaged by the alleged breach of the implied warranty of merchantability.”
  11 (Gutierrez, supra, 19 Cal.App.5th at p. 1247.)
  12          •     The implied warranty of merchantability “does not ‘impose a general
  13 requirement that goods precisely fulfill the expectation of the buyer. Instead, it
  14 provides for a minimum level of quality.’ ” (American Suzuki Motor Corp. v.
  15 Superior Court, 37 Cal.App.4th 1291, 1295–96 (1995) (internal citation omitted).
  16          •     “The notice requirement of [former Civil Code] section 1769 . . . is not
  17 an appropriate one for the court to adopt in actions by injured consumers against
  18 manufacturers with whom they have not dealt. ‘As between the immediate parties to
  19 the sale [the notice requirement] is a sound commercial rule, designed to protect the
  20 seller against unduly delayed claims for damages. As applied to personal injuries,
  21 and notice to a remote seller, it becomes a booby-trap for the unway.’” (Greenman v.
  22 Yuba Power Products, Inc., 59 Cal.2d 57, 61 (1963) (internal citations omitted).)
  23         B.     Brief Description of Key Evidence in Opposition to Plaintiff’s
  24                Claims
  25         Plaintiff is not entitled to the statutory presumption to assist them in proving a
  26 “reasonable number of attempts” took place. Repair orders establish that Mejia’s
  27 vehicle did not have 3 or more repairs for the transmission during the first 18 months
  28 it was on the road. Plaintiff’s first visit to a Ford authorized dealership for repair to

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   1 the Fiesta occurred in January 2014, more than a year after Plaintiff’s purchase of his
   2 vehicle. Plaintiff derived significant value from the Fiesta during his ownership and
   3 there is no evidence of substantial impairment of use, safety, or any diminution in
   4 value.
   5          The following facts and evidence may be used to support Ford’s defense to
   6 Plaintiff’s claims in this matter: Plaintiff’s deposition testimony; Matthew Fyie’s
   7 deposition testimony; Robert Pascarella’s deposition testimony; the date of purchase;
   8 miles on the vehicle at the date of purchase; trade-in value of the vehicle; concerns
   9 made to Ford-authorized independent repair dealers by Plaintiff; the dates the vehicle
  10 was delivered to Ford-authorized independent repair dealers; the inspection, service,
  11 or repairs performed by Ford authorized independent repair dealers; the dates the
  12 vehicle was returned to Plaintiff; the mileage on the dates the vehicle was presented
  13 to Ford-authorized independent repair dealers; the dates and substance of any
  14 communications with Ford and/or Ford authorized independent repair dealers; the
  15 sales file; repair orders; invoices; Warranty (and the terms of the warranty including
  16 length, coverage and exclusions are set forth verbatim); Owner’s Manual; AWS,
  17 FMC 360, GCQIS, and Oasis documents. Ford’s experts’ reports and exhibits
  18 thereto; and any other documents identified in the Joint Exhibit List.
  19 1.       REMAINING TRIABLE ISSUES
  20          In view of the admitted facts and the elements required to establish the claims
  21 and affirmative defenses, the following to be tried:
  22          Plaintiff’s Statement
  23          The following remain to be tried:
  24          (1) Whether the Subject Vehicle contained one or more defects that
  25 substantially impaired its use, value, or safety to a reasonable person in Plaintiff’s
  26 situation.
  27
  28

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   1          (2)    Whether Ford or its authorized repair facilities failed to repair the
   2 Subject Vehicle to conform to its written warranty after a reasonable number of
   3 opportunities to do so.
   4          (3)    Whether the Subject Vehicle was not of the same quality as those
   5 generally acceptable in the trade or was not fit for the ordinary purposes for which it
   6 is used.
   7          (4)    Whether Ford failed to promptly repurchase or replace the Subject
   8 Vehicle;
   9          (5)    The amount of Plaintiff’s damages under both theories of express and
  10 implied warranty claims.
  11          (6)    Whether Ford’s failure to comply was willful.
  12          (7).   The amount of civil penalties.
  13          Ford’s Statement
  14          (1) To the extent not stipulated to, all elements of Plaintiff’s cause of action

  15 for violation of the Song-Beverly Act for breach of express warranty;
  16          (2)    To the extent not stipulated to, all elements of Plaintiff’s cause of
  17 action for violation of the Song-Beverly Act for breach of implied warranty;
  18          (3)    The amount of Plaintiff’s restitution damages under the Song-Beverly
  19   Act;
  20          (4)    Depending on the remedies Plaintiff seeks, the amount of any equitable
  21 relief or offsets (to be resolved by the Court);
  22          (5)    The amount, if any, of civil penalties that may be justified for a willful
  23 breach.
  24 2.       DISCOVERY
  25          All discovery is complete.
  26 3.       DISCLOSURES AND EXHIBIT LIST
  27          All disclosures under Fed. R. Civ. P. 26(a)(3) have been made.
  28

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   1         The joint exhibit list of the parties is to be filed under separate cover as
   2 required by L.R. 16-6.1 (the “Joint Exhibit List”), on August 5, 2022. In view of the
   3 volume of exhibits marked by each party, the parties have incorporated in the
   4 attached “Joint Exhibit List” all agreements regarding admitted exhibits, and all
   5 objections, including the grounds therefor.
   6 4.      WITNESS LISTS
   7         The Joint Witness List of the parties will be separately filed with the Court on
   8 August 5, 2022. Only the witnesses identified on the lists will be permitted to testify
   9 (other than solely for impeachment).
  10 5.      MOTIONS IN LIMINE
  11         Plaintiff’s Motion in Limine and Defendant’s Daubert motion will be heard on
  12 August 12, 2022. The parties have met and conferred on the motion in limine. The
  13 following motion in limine, and no others, are pending or contemplated:
  14         Plaintiff’s Motion in Limine:
  15            • Motion in Limine No. 1 to Exclude Argument, Evidence or Testimony
  16               that Plaintiff’s Damages Should be Offset Due to the Trade-In of the
  17               Subject Vehicle or, Alternatively, Request that Any Offset Due to the
  18               Trade-In be Determined Post-Verdict. See MIL No. 1, Dkt. No. 1266.
  19         Defendant’s Daubert Motion:
  20            • Defendant Ford Motor Company’s Motion to Exclude Opinions and
  21               Testimony of Anthony Micale
  22         BIFURCATION
  23         Plaintiff’s Statement:
  24         Bifurcation is not necessary.
  25         Ford’s Statement:
  26         Ford will not seek bifurcation, except to the extent the Court permits Plaintiff
  27 to seek the equitable remedy of rescission on any claim (such as their implied
  28 warranty claim) that must instead be resolved by the Court. See, e.g., Danjaq LLC

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   1 v. Sony Corp., 263 F.3d 942, 961-62 (9th Cir. 2001) (equitable claims and defenses
   2 are to be resolved by the Court not a jury).
   3
   4 6.      ADMISSIONS
   5         The foregoing having been made by the parties, and the parties having
   6 specified the foregoing issues remaining to be litigated, this Final Pre-Trial Order
   7 shall supersede the pleadings, and govern the course of the trial of this cause, unless
   8 modified to prevent manifest injustice.
   9
  10
       DATED: September 29, 2022
  11
                                       _______________________________________
  12                                   HONORABLE ANDRÉ BIROTTE JR.
  13                                   UNITED STATES DISTRICT COURT JUDGE

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